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                      UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK
_______________________________________
                                        )
IN RE: TERRORIST ATTACKS ON             ) Civil Action No. 03 MDL 1570 (GBD) (SN)
SEPTEMBER 11, 2001                      )
_______________________________________)

This document relates to: All Actions

                      PROPOSED ORDER TO WITHDRAW
                 BENJAMIN D. MARGO AS ATTORNEY OF RECORD

       Before the Court is the Motion to Withdraw Benjamin D. Margo as Attorney of Record

for the Kingdom of Saudi Arabia, filed March 13, 2019.

       It is ORDERED that Benjamin D. Margo be withdrawn as counsel for the Kingdom of

Saudi Arabia in the above-referenced action.




Signed this _____day of ______________2019.
